

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-57,364-08






IN RE ERNEST LEE TILLMAN, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 897528 IN THE 177TH DISTRICT COURT
	

FROM HARRIS COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 177th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  Relator contends that the district court
entered an order designating issues on March 18, 2010.

	Respondent, the Judge of the 177th District Court, shall file a response with this Court by
having the District Clerk submit the record on such habeas corpus application.  In the alternative,
Respondent may resolve the issues set out in the order designating issues and then have the District
Clerk submit the record on such application.  In either case, Respondent's answer shall be submitted
within 30 days of the date of this order.  This application for leave to file a writ of mandamus will
be held in abeyance until Respondent has submitted his response.


Filed: April 17, 2013

Do not publish	


